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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

MAIN DRUG, INC.,                              )
                                              )
              Plaintiff,                      )
                                              )
v.                                            )            Case No.: 2:05-CV-292-MEF
                                              )                         (WO)
AETNA U.S. HEALTHCARE, INC. and               )
AETNA, INC.,                                  )
                                              )
              Defendants.                     )

                      MEMORANDUM OPINION AND ORDER

       Plaintiff, an independently owned pharmacy, brought suit in the Circuit Court of

Bullock County, Alabama on behalf of itself and all similarly situated parties against the

Defendant insurance companies/pharmacy benefit management companies for failure to

reimburse Plaintiffs according to an agreed-upon formula for brand name prescriptions

dispensed to Defendants’ insureds. Defendants removed this case to federal court on March

30, 2005, alleging diversity jurisdiction pursuant to 28 U.S.C. § 1332 and the Class Action

Fairness Act of 2005, Pub. L. No. 109-2, 119 Stat. 4 (“CAFA”), as well as federal question

jurisdiction under the Employee Retirement Income Security Act of 1974, 29 U.S.C.§ 1001,

et. seq. (ERISA). On April 29, 2005, Plaintiff filed a Motion to Remand (Doc. #10). In that

Motion, Plaintiff argues that the amount in controversy in this case is insufficient to authorize

the Court to exercise jurisdiction over this case pursuant to 28 U.S.C. § 1332, that CAFA

does not apply, and that this dispute is not governed by ERISA. On December 14, 2005, this

Court entered an Order (Doc. # 32) finding that (1) there was insufficient evidence that
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removal is warranted on the basis of ERISA preemption and (2) this action was commenced

after the enactment of CAFA, and therefore CAFA applies. CAFA requires both diversity

of citizenship and that the “matter in controversy exceeds the sum or value of $5,000,000,

exclusive of interest and costs.” 28 U.S.C. § 1332(d)(2). The parties do not dispute that the

diversity of citizenship requirement has been met, but there is a question as to whether the

amount in controversy exceeds $5,000,000. In its December 14, 2005 Order, the Court

ordered additional briefing on the amount in controversy issue. Upon consideration of the

additional information filed by both parties, for the reasons set forth below, the Court finds

that the amount in controversy exceeds $5,000,000 and that therefore the Motion to Remand

(Doc. # 10) is due to be DENIED.

                   I. JURISDICTION AND REMAND STANDARD

       As stated in the December 14, 2005 Order, federal courts are courts of limited

jurisdiction. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994); Burns v.

Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir. 1994); Wymbs v. Republican State Executive

Comm., 719 F.2d 1072, 1076 (11th Cir. 1983). As such, federal courts only have the power

to hear cases that they have been authorized to hear by the Constitution or the Congress of

the United States. Kokkonen, 511 U.S. at 377. CAFA gives federal district courts jurisdiction

over class actions where at least one member of the plaintiff class is a citizen of a different

state from any defendant and the total amount in controversy exceeds $5,000,000. 28 U.S.C.

§ 1332(d)(1).



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       When a case is originally filed in state court, a party may remove it if the case

originally could have been brought in federal court. See 28 U.S.C. § 1441(a). However, the

non-moving party may move for remand, which will be granted if “it appears that the district

court lacks subject matter jurisdiction.” See 28 U.S.C. § 1447(c).

                                            II. FACTS

       On June 11, 1999, Plaintiff Main Drug, Inc. (“Main Drug”) entered into an agreement

(entitled “Amendment to the Pharmacy Agreement”) with the Defendants whereby Main

Drug would dispense prescription medications to Defendants’ insureds/members. That

agreement provides as follows with regard to reimbursement for filling of name brand

prescriptions:

                 Pharmacy agrees to accept the following Reimbursement Rate
                 for services, based on Cost of the actual package or bottle size
                 used to fill the prescription, rendered to members under the
                 Program in accordance with the following: The Reimbursement
                 Rate for each prescription drug dispensed shall be equal to the
                 lesser of: (i) the Ingredient Cost (as hereinafter defined) of such
                 prescription drug, plus a professional fee as agreed upon by the
                 parties and set forth in Section E below; or (ii) the Usual and
                 Customary Retail price. Pharmacy agrees to submit its Usual
                 and Customary Retail Price to Company’s designated claims
                 processor.

                 For Brand Name and Generic Drugs the Ingredient Cost shall be
                 equal to the lesser of (i) for Multi-Source Generic Drugs as set
                 forth in the Company MAC, or (ii) for Brand Name Drugs and
                 Generic Drugs not defined in the Company MAC, the Average
                 Wholesale Price minus the discount as set forth in Section E
                 below.




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The Average Wholesale Price (“AWP”) is the price that pharmacies pay to a medication’s

manufacturer or distributor for that medication. AWP is electronically updated by the

manufacturer or distributor on a daily basis and is reported to pharmacies, insurance

companies, pharmacy benefit managers and for-the-public publications. Main Drug alleges

that, despite having access to AWP information, the Defendants deliberately refused to

reimburse it for the full amount of the AWP as agreed. Main Drug alleges that this was part

of an intentional plan to defraud pharmacies and customers and increase the Defendants’

profits.

       Main Drug brings claims for misrepresentation/suppression, breach of contract, unjust

enrichment, and conspiracy. It is requesting monetary compensation for the difference

between AWP and the amount actually reimbursed, punitive damages, and injunctive relief.

It also brings this action as a nationwide class action pursuant to Alabama Rule of Civil

Procedure 23(b)(3), specifically defining the class as follows:

              all independently owned pharmacies who entered into a contract
              with Aetna U.S. Healthcare on or after February 9, 1999; but
              excluding (1) independently owned pharmacies who are
              currently in bankruptcy; (2) independently owned pharmacies
              whose obligations to Aetna U.S.Healthcare have been modified
              or discharged in bankruptcy; (3) any governmental agency or
              entity and (4) any person or entity who, in accordance with any
              court approved notice, properly executes and submits a timely
              request for exclusion from the class.

       Main Drug is a citizen of Alabama. Defendants are Pennsylvania corporations not

licensed to do business in Alabama with their principle places of business in Connecticut.



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Additionally, Main Drug’s Complaint specifically states that

              Plaintiff, individually and on behalf of the putative class, makes
              no claims pursuant to federal law and further makes no claims
              which would give rise to any federal cause of action. Plaintiff’s
              claims are based solely upon applicable state law. Additionally,
              Plaintiff, on behalf of itself and putative class members, does
              not make any claim for relief, including both equitable relief and
              monetary damages, in excess of $74,500.00 in the aggregate for
              each plaintiff or class member. Under no circumstances would
              the total amount of relief, including both equitable relief and
              monetary damages, exceed $74,500.00 in the aggregate for each
              plaintiff or class member. Even if Plaintiff and class members
              recovered under each count of the complaint, the total recovery
              for Plaintiff and putative class members would not exceed
              $74,500 in the aggregate for each plaintiff or class member.

                                    III. DISCUSSION

       In its December 14, 2005 Order, the Court requested (1) briefing on which party bears

the burden of demonstrating that federal jurisdiction exists and (2) specific evidence from

each party supporting its assertion that the amount in controversy does or does not exceed

$5,000,000. The Court will now address each of these issues in turn.

A.     Burden of Demonstrating Amount in Controversy

       In the typical case invoking federal diversity jurisdiction under 28 U.S.C. § 1332(a),

the party asserting federal jurisdiction bears the burden of demonstrating that jurisdiction

exists. See McNutt v. Gen. Motors Corp., 298 U.S. 178, 189, 56 S. Ct. 780, 785, 80 L.Ed.

1135 (1936). When the plaintiff files suit in state court, “[t]he defendant can remove to

federal court if he can show, by a preponderance of the evidence, facts supporting

jurisdiction.” Burns, 31 F.3d at 1094 (emphasis added). That is, the defendant must show

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by a preponderance of the evidence that the amount in controversy has been met.1

       The Court recognizes, however, that a number of courts have concluded that CAFA

shifts the burden to the plaintiff to prove that the amount in controversy has not been met,

and that therefore federal jurisdiction does not exist. See, e.g., Waitt v. Merck & Co., No.

C05-0759L, 2005 WL 1799740 (W.D. Wash. July 27, 2005); Yeroushalami v. Blockbuster,

Inc., No. CV 05-225-AHM(RCX), 2005 WL 2083008 (C.D. Cal. July 11, 2005). Though

the text of CAFA makes no mention of the burden of proof, these courts base their

conclusion that CAFA shifts the burden on a report of the Senate Committee on the

Judiciary. The report states that

       [i]f a purported class action is removed pursuant to these jurisdictional
       provisions, the named plaintiff(s) should bear the burden of demonstrating
       that removal was improvident (i.e., that the applicable jurisdictional
       requirements are not satisfied). . . . Overall, new section 1332(d) is intended
       to expand substantially federal court jurisdiction over class actions. Its
       provisions should be read broadly, with a strong preference that interstate
       class actions should be heard in federal court if properly removed by any
       defendant.

S. Rep. 109-14 at 42-44 (2005). While courts may look to legislative history in interpreting

ambiguous statutory language, this particular report does not correspond to any new

statutory language. The Seventh Circuit held that this legislative history alone, absent

statutory language, cannot alter the longstanding rule placing the burden on defendant to

show jurisdiction. Brill v. Countrywide Home Loans, Inc.,427 F.3d 446, 448 (7th Cir.



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           The parties do not dispute that this is the traditional burden of proof.

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2005)(citing Pierce v. Underwood, 487 U.S. 522, 566-68, 108 S. Ct. 2541, 101 L.Ed.2d 490

(1988)). This is consistent with the Eleventh Circuit’s views on the use of legislative

history:

       A committee report does not have the force of law, nor does this statement
       purport to explain ambiguous or vague language appearing in the statute.
       "While a committee report may ordinarily be used to interpret unclear
       language contained in a statute, a committee report cannot serve as an
       independent statutory source having the force of law." International Bhd. of
       Elec. Workers Local Union No. 474 v. NLRB, 814 F.2d 697, 712
       (D.C.Cir.1987). "[A] cardinal principle of the judicial function of statutory
       interpretation is that courts have no authority to enforce principles gleaned
       solely from legislative history that has no statutory reference point." Id.

United States v. Thigpen, 4 F.3d 1573, 1577 (11th Cir. 1993). Therefore, this Court will not

consider the Senate report on CAFA, and will apply the traditional burden, requiring

Defendants to show by a preponderance of the evidence that the amount in controversy has

been met.

B.     Defendants’ Amount in Controversy Evidence

       The Defendants have submitted the affidavit of Tarleton David Williams, Jr., which

contains data from Aetna’s pharmacy department showing that Aetna paid over $20 billion

to U.S. pharmacies for all prescription drugs and adjudicated more than 300 million

pharmacy claims from 1999 to 2005.          In addition, Defendants have submitted the

declarations of JoBeth Levy, Aetna’s Business Systems Manager responsible for pharmacy

transaction reporting, and Frederic Curtiss, a pharmacoeconomics expert.               These

declarations show that, taking all allegations in the Complaint as true, the amount in


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controversy would be approximately $7,195,000 just for 2003 through 2005. The Court

finds this evidence sufficient to meet Defendants’ burden of showing that the amount in

controversy exceeds $5,000,000.

                                  IV. CONCLUSION

      For the reasons set forth above, it is hereby ORDERED that

      1.     The Motion to Remand (Doc. # 10) is DENIED.

      2.     The Motion for Conditional Leave to Conduct Limited Discovery Related to

             Plaintiff’s Motion to Remand this Action to State Court (Doc. # 14) is

             DENIED AS MOOT.

      3.     The Motion for Hearing and Oral Argument on Plaintiff’s Motion to Remand

             to State Court (Doc. # 15) is DENIED AS MOOT.

      DONE this the 14th day of April, 2006.




                                                 /s/ Mark E. Fuller
                                        CHIEF UNITED STATES DISTRICT JUDGE




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